Case 2:04-cr-20358-SH|\/| Document 60 Filed 04/21/05 Page 1 of 2 Page|D 74

IN THE UNITED sTATEs DISTRICT coURT
FoR THE wEsTERN DIsTRIcT oF TENNESSEE 35 ,:i
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UNI'I‘ED STATES OF AMERICA,
Plaintiff,
CR. NO. 04~20358-Ma

VS.

ALFONZO MITCHELL ,

Defendant.

 

ORDER ON CONTINUANCE AN'.D SPECIFYING PERIOD OF EXCLUDA.BLE DELAY

 

This cause came on for a report date on March 25, 2005.
Defense Counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case and to
allow for the disposition of the pending Motion to Suppress.

The Court granted the request and continued the trial date to
the rotation docket beginning May 2, 2005 at 9:30 a.m., with a
report date of Thursday, April 21, 2005 at 2:00 p.m.

The period fron\ March 25, 2005 through. May l3, 2005 is
excludable under 18 U.S.C. §§ 3161(h)(8)(B)(iv) and 316l(h}(l)(F)
because the interests of justice in allowing additional time to
prepare and the need to dispose of the pending motion outweigh the
need for a speedy trial.

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IT IS SO ORDERED this k¢` day of April, 2005.

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SAMUEL H. MAYS, JR.
UNITED S"I‘ATES DISTRICT JUDGE @

UNITD sATEs ISTRIC COURT - ESTER DISITRCT oF TENNESSEE

   

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This notice confirms a copy of the document docketed as number 60 in
case 2:04-CR-20358 Was distributed by faX, mail, or direct printing on
April 25, 2005 to the parties listed.

 

 

PDA

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Honorable Samuel Mays
US DISTRICT COURT

